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US DISTRICT COURT
WESTERN DIST ARKANSAS
FILED
IN THE UNITED STATES DISTRICT COURT APR 28 2021
WESTERN DISTRICT OF ARKANSAS
FAYETTEVILLE DIVISION By
Deputy Clerk
UNITED STATES OF AMERICA )
) Case No. 5:21-CR-500{4 -001
)
)
v. ) 18 U.S.C. § 2252A(a)(2)
) 18 U.S.C. § 2252A(b)(1)
) 18 U.S.C. § 2252A(a)(5)(B)
) 18 U.S.C. § 2252A(b)(2)
)
)
JOSHUA JAMES DUGGAR )
INDICTMENT
The Grand Jury Charges:
COUNT ONE

(Receipt of Child Pornography)

Between on or about May 14, 2019, and on or about May 16, 2019, in the Western District
of Arkansas, Fayetteville Division, the Defendant, JOSHUA JAMES DUGGAR, knowingly
received child pornography, as that term is defined by 18 United States Code Section 2256(8)(B),
using any means and facility of interstate and foreign commerce and that had been mailed, and had
been shipped and transported in and affecting interstate and foreign commerce by any means,
including computer, and attempted to do so.

All in violation of Title 18, United States Code, Sections 2252A(a)(2) and (b)(1).

COUNT TWO

(Possession of Child Pornography)

Between on or about May 14, 2019, and on or about May 16, 2019, in the Western District
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of Arkansas, Fayetteville Division, the Defendant, JOSHUA JAMES DUGGAR, knowingly
possessed material that contained images of child pornography, as that term is defined in Title 18,
United States Code, Section 2256(8)(B), including images of minors under the age of 12, that had
been mailed, and shipped and transported using any means and facility of interstate and foreign
commerce and in and affecting interstate and foreign commerce by any means, including by
computer, and that was produced using materials that had been mailed, and shipped and
transported in and affecting interstate and foreign commerce by any means, including by computer,

and attempted to do so.

All in violation of Title 18, United States Code, Sections 2252A(a)(5)(B) and (b)(2).

FORFEITURE ALLEGATION
The Grand Jury re-alleges and incorporates by reference herein all Counts of this
Indictment.
Upon conviction of any Count of this Indictment, the defendant shall forfeit to the United
States pursuant to 18 United States Code, Section 2253 the defendant’s interest in:

1. any visual depiction described in 18 United States Code, Sections 2251, 2251A, or 2252,
2252A, 2252B, or 2260, or any book, magazine, periodical, film, videotape, or other
matter, which contains any such visual depiction, which was produced, transported, mailed,
shipped or received in violation of the offenses in the Indictment;

2. any property, real or personal, constituting or traceable to gross profits or other proceeds
obtained from the offenses in the Indictment; and

3. any property, real or personal, including any and all computer equipment, used or

intended to be used to commit or to promote the commission of the offenses in the
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Indictment, or any property traceable to such property, including, but not limited to
computer equipment used in the commission of the offenses in the Indictment.
If any of the property subject to forfeiture, as a result of any act or omission of the defendants:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third person;
c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be subdivided without
difficulty;
it is the intent of the United States, pursuant to Title 18 United States Code, Section 2253(b),
incorporating by reference Title 21 United States Code, Section 853 to seek forfeiture of any other

property of said defendants up to the value of the above forfeitable property.

A True Bill. DAVID CLAY FOWLKES
ACTING UNITED STATES ATTORNEY

/s/Grand Jury Foreperson By: Cayhe, Haka?

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